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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
DONALD L. VANDYK, Case No. 1:17-cv-785
Plaintiff, Litkovitz, MJ
vs.
CENTRAL USA WIRELESS, et al., ORDER
Defendant.

This matter is before the Court upon the parties’ Joint Motion for Court Approval of
Settlement (Doc. 21) and the hearing on the motion held on March 8, 2019. The Joint Motion asks
the Court to approve as fair and reasonable the proposed settlement of this case as memorialized in
the parties’ Settlement Agreement (the “Settlement Agreement”).

The Court finds that the proposed settlement is fair, reasonable, and eliminates the cost and
uncertainty of further litigation of Plaintiff's claims, including Plaintiff's unpaid overtime claim. The
settlement satisfies the standard for approval of settlements under §16(b) of the Fair Labor Standards
Act, 29 U.S.C. §216(b), and resolves the potential for a bona fide dispute under the FLSA and/or
applicable Ohio law.

Accordingly, having reviewed the Settlement Agreement and the pleadings and papers on file
in this case, and for good cause established therein, the Court enters this Order approving the
settlement of this matter, including the settlement payments, as such terms are set forth in the parties’

Settlement Agreement.

The Court expressly and explicitly retains jurisdiction to enforce the settlement agreement of

the parties.

IT IS SO ORDERED.
Date: 3/319 Lossy, Lethon
Karen L. Litkovitz

United States Magistrate Judge
